Case 23-09810               Doc 20-3           Filed 10/06/23 Entered 10/06/23 15:42:50                                   Desc Proposed
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